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            United States District Court
            Northern District of California




ASHLEY GJOVIK, an individual,          Case No. 3:23 -CV-04597-EMC

      Plaintiff,

                                       Declaration of

    vs.                                Plaintiff Ashley Gjovik

                                       Civil L.R. 7-3, 7-5

APPLE INC, a corporation,

      Defendant.
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DECLARATION OF PLAINTIFF IN SUPPORT OF OPPOSITION TO

DEFENDANT'S ADMINISTRATIVE MOTION TO STAY PLAINTIFF'S

MOTION TO AMEND AND MOTION TO DISQUALIFY




Declaration of Ashley Gjovik

Pursuant to 28 U.S.C.§ 1746, I, Ashley M. Gjovik, hereby declare as follows:



      My name is Ashley Marie Gjovik. I am a self-represented Plaintiff in the

above-captioned matter and submit this declaration in support of my Opposition

to Defendant Apple Inc.'s Administrative Motion to Stay Plaintiff ’s Motion to

Amend and Motion to Disqualify, and Plaintiff ’s Cross -Motion to Stay

Defendant’s Motion to Dismiss Pending Resolution of Plaintiff ’s Motions to

Amend and Disqualify. I have personal knowledge of the facts stated herein and,

if called upon to testify, I could and would do so competently.

      On January 31, 2025, at 12:53 PM PST, I received an email from Defendant’s

counsel, Melinda S. Riechert of Orrick, Herrington & Sutcliffe LLP, stating that

Defendant was preparing to file an administrative motion to stay its deadline to

respond to my Motion to Amend (Dkt. 155) and that I needed to respond by 3:00

PM PST to indicate whether I would stipulate to their request. A true and correct

copy of this email exchange is attached hereto as Exhibit A.

      At the time Defendant’s counsel sent this email, I was asleep due to illness

and did not see their message until later. I responded at 4:38 PM PST—


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approximately an hour and half after their deadline —stating that I did not agree

to stipulate and that it would be more appropriate to withdraw their pending

Motion to Dismiss and allow an amended complaint before determining if a motion

to dismiss was still necessary.

      At 7:42 PM PST, Defendant’s counsel responded that they were not willing

to withdraw their motion to dismiss and had already filed their administrative

motion regarding the deadline to respond to my motion to amend.

      Defendant’s motion falsely suggests that I was given a reasonable

opportunity to engage in meaningful discussion about their request. In reality, I

was given two hours' notice to respond, while being ill, and I was not even awake

at the time their deadline passed. Defendant’s failure to disclose these facts to the

Court is a clear attempt to misrepresent the procedural history and manufacture

prejudice against me.

      I submit this declaration to correct the record and to demonstrate that

Defendant’s claim that it sought my stipulation in good faith is false. Defendant’s

email exchange clearly shows that they imposed an arbitrary and unreasonable

deadline in an effort to mislead the Court.

      I declare under penalty of perjury under the laws of the United States that

the foregoing is true and correct and that this declaration was executed on

February 3 2025.




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Signature:




      /s/ Ashley M. Gjovik
      Pro Se Plaintiff

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                         EXHIBITS




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